        Case 2:14-cr-00326-JAM Document 43 Filed 10/23/15 Page 1 of 2


 1   JENNIFER C. NOBLE, ESQ., CSBN 256952
     WISEMAN LAW GROUP, P.C.
 2      1477 Drew Avenue, Suite 106
        Davis, California 95618
 3      Telephone: 530.759.0700
        Facsimile:    530.759.0800
 4
     Attorney for Defendant
 5
     ELISABET PEREZ
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT

 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                 SACRAMENTO DIVISION

10

11
     UNITED STATES OF AMERICA,                           ) Case No. 2:14-CR-0326 JAM
                                                         )
12
                                     Plaintiff,          )
                                                         )
13
             vs.                                         ) STIPULATION AND TO MODIFY
                                                         ) CONDITIONS OF PRE-TRIAL
14
                                                         ) RELEASE
                                                         )
15
     ELISABET PEREZ,                                     )
                                                         )
16
                                     Defendant.          )
                                                         )
17
                                                         )

18                     IT IS HEREBY STIPULATED by and between the parties, the UNITED
19   STATES OF AMERICA, through undersigned counsel, Josh Sigal, Assistant United
20   States Attorney, and Jennifer C. Noble, attorney for Elisabet Perez, with no objection
21   from the Pre-Trial Officer, that Condition 16 of Elisabet Perez’s pre-trial release be
22   modified to adjust her curfew so that she can take her daughter trick-or-treating for
23   Halloween. Ms. Perez requests that her usual curfew, which requires her to be home by
24   7 p.m., be extended to 10 p.m., on Saturday, October 31, 2015.
25    /////
26    /////
27    /////
28    /////

                                                          1
     Stipulation and Proposed Order                                    Case No. 2:14-CR-0326 JAM
     To Modify Conditions of Pre-Trial Release
        Case 2:14-cr-00326-JAM Document 43 Filed 10/23/15 Page 2 of 2


 1            All other conditions of pre-trial release would remain unchanged.
 2

 3   IT IS SO STIPULATED.
 4
     Dated: October 22, 2015                               By: /s/ Jennifer C. Noble
 5                                                         JENNIFER C. NOBLE
                                                           WISEMAN LAW GROUP
 6                                                         Attorney for Defendant
                                                           ELISABET PEREZ
 7

 8
     Dated: October 22, 2015                               BENJAMIN B. WAGNER
 9                                                         United States Attorney
10
                                                           By: /s/ JOSH F. SIGAL
11                                                         JOSH F. SIGAL
                                                           Assistant United States Attorney
12

13

14                                               PROPOSED ORDER

15            GOOD CAUSE APPEARING, it is hereby ordered that the Conditions of Pre-Trial
16   Release be modified as follows:
17            Condition 16 restricting defendant to her home for the hours of 7:00 p.m. to 7:00
18   a.m. shall be modified to 7:00 p.m. to 10 p.m. on October 31, 2015 to allow her to take
19   her daughter trick-or-treating on Halloween. All other conditions of pre-trial release
20   remain in force.
21

22   IT IS SO ORDERED.
23
     Dated: October 23, 2015
24
                                                       _____________________________________
25                                                     CAROLYN K. DELANEY
                                                       UNITED STATES MAGISTRATE JUDGE
26

27

28


                                                       2
     Stipulation and Proposed Order                                        Case No. 2:14-CR-0326 JAM
     To Modify Conditions of Pre-Trial Release
